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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION


THE STATE OF TEXAS and
KEN PAXTON, in his official capacity at
Attorney General of Texas,

        Plaintiffs,

v.                                               Civil Action No. 2:24-cv-00240-Z

MERRICK GARLAND, in his official capacity
as Attorney General, and the U.S.
DEPARTMENT OF JUSTICE,

        Defendants.

     DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ EMERGENCY MOTION FOR A
        PRESERVATION ORDER, OR IN THE ALTERNATIVE, A TEMPORARY
                          RESTRAINING ORDER


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                                         INTRODUCTION
        On an emergency basis, Plaintiffs seek a temporary restraining order for a preservation order

without any showing that relevant records would be destroyed absent such an order.                  This

extraordinary request has no basis in fact or law, and the Court should reject it out of hand. 1 Less

than a week ago, Plaintiffs submitted a Freedom of Information Act (“FOIA”) request to the

Department of Justice, and immediately began accusing the Department of destroying responsive

records. Plaintiffs have no evidence whatsoever to back up that meritless accusation. The Department

of Justice is preserving records from the Special Counsel’s Office in the ordinary course pursuant to

the relevant federal records schedule. As this Court already noted, “Plaintiffs’ fears about document

destruction in this case are specious at best.” See ECF No. 5. Plaintiffs also cannot show a likelihood

of success on their underlying claim, which is not a FOIA claim, but just a request for a preservation

order for which they lack plausible basis. Plaintiffs admit that they do not yet have a FOIA claim and

will not for several weeks at least. The Court should reject their demand for a free-standing

preservation order and deny the motion.
                                          BACKGROUND
        Plaintiff and Texas Attorney General Ken Paxton submitted a FOIA request dated November

8, 2024 to the Department of Justice (“DOJ”). See Compl. Ex. C, ECF No. 1-5 (hereinafter “the

Request”). The submission makes six requests. Four of these requests seek communications from

the Office of Special Counsel Jack Smith to other government entities, including: any New York State

governmental office, the Fulton County District Attorney’s Office, any Congressional office, and any

governmental or law enforcement office in the State of Texas. Id. The fifth is for internal deliberations

regarding the Special Counsel’s reasoning for requesting that trial start in January of 2024. Id. And

the last category seeks documents reflecting the mobile numbers and corresponding asset tag numbers

assigned to the Special Counsel staff. Id. The submission also seeks a fee waiver, and further demands


        1
          Defendants understand that service still has not been completed in this action and reserve all
rights to assert lack of personal jurisdiction / service (among other defenses under Rule 12(b)).



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that the Special Counsel Office preserve all of its records, even if not responsive to a FOIA request.

Id. The Request threatens a referral for criminal prosecution if records were to be destroyed. Id.

        Texas initially directed the Request to the DOJ’s Mail Referral Unit, which referred the request

to the Office of Information Policy (“OIP”), which handles records requests for, among other

components, all Special Counsel Offices. See Defs.’ Ex. 1 (Acknowledgement Letter) (APP001-03).

By letter dated November 13, 2024 (two business days after receipt of the Request), OIP

acknowledged receipt of the Request, and explained to Plaintiff that the nature of the Request

constitutes “unusual circumstances” under the statute. Id. (citing 5 U.S.C. § 552 (a)(6)(B)(i)-(iii)). As
a result, the Request was assigned to the “complex” processing track such that the agency needs “to

extend the time limit to respond to [the Request] beyond the ten additional days provided by the

statute.” Id. The acknowledgement letter further invited discussion about narrowing the scope of the

Request and or agreeing to an alternate timeframe for a response.

        Prior to receiving this letter and without further discussion, on November 11, 2024, Plaintiffs

filed the present complaint and emergency motion. See ECF Nos. 1 & 2. Plaintiffs have not yet

completed service on the Defendants under Rule 4(i)(1). The Complaint purports to articulate claims

for ultra vires action and under the All Writs Act and seeks a declaratory judgment and injunction

preserving all records in the possession of Special Counsel Jack Smith. Compl., ECF No. 1. The

Complaint does not purport to make a claim under FOIA and in fact concedes that no such claim is

ripe. Compl. ¶ 24. 2

        2
           Section 552(a)(4) is the general FOIA provision authorizing judicial review of agency
decisions to withhold records from FOIA requestors. See 5 U.S.C. § 552(a)(4)(B). Full and timely
exhaustion of administrative remedies is a prerequisite to judicial review under § 552(a)(4). See, e.g.,
Oglesby v. U.S. Dep’t of the Army, 920 F.2d 57, 61-62, 71 (D.C. Cir. 1990). Generally speaking, under
FOIA, “[a] district court only has jurisdiction to compel an agency to disclose improperly withheld agency
records,” i.e. records that do “not fall within an exemption.” Minier v. CIA, 88 F.3d 796, 803 (9th Cir.
1996); see also 5 U.S.C. § 552(a)(4)(B) (providing the district court with jurisdiction only “to enjoin the
agency from withholding agency records and to order the production of any agency records
improperly withheld from the complainant”); Kissinger v. Reporters Comm. for Freedom of the Press, 445 U.S.
136, 150 (1980) (“Under 5 U.S.C. § 552(a)(4)(B)[,] federal jurisdiction is dependent upon a showing
that an agency has (1) ‘improperly’; (2) ‘withheld’; (3) ‘agency records.’”). Although it is possible to
constructively exhaust administrative remedies, see Pearson v. U.S. Dep’t of Homeland Sec., No. CIV. 3:08-


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        Plaintiffs’ emergency motion seeks essentially the same relief – that Special Counsel Jack Smith

be prohibited from destroying any records in his possession (or any records responsive to the Request)

– and further requires a report as to steps taken to comply with the preservation order. ECF No. 2-

2. On November 12, 2024, the Court declined to issue an order immediately, explaining that all

litigants are already under an obligation to preserve documents, that Plaintiffs’ fears about document

destruction are specious at best, and that Plaintiffs’ allegations are readily distinguishable from cases

where preservation orders had been entered. ECF No. 5. The Court directed Defendants to respond

to the motion by today, November 18, 2024. Id.
                                              ARGUMENT

  I.        The Court Should Apply the Preliminary Injunction Factors

        Courts in this Circuit have considered several different tests when resolving motions to

preserve documents, although none is in the context of a freestanding claim for a preservation order

in light of a future FOIA action. See Deggs v. Fives Bronx, Inc., No. CV 19-406-BAJ-EWD, 2020 WL

3100023, at *2 (M.D. La. June 11, 2020); Legacy of Life, Inc. v. Am. Donor Services, Inc., No. SA-06-CA-

0802-XR, 2006 WL 8435984, at *1 (W.D. Tex. Sept. 21, 2006).

        The first test is the four-prong test for a preliminary injunction, (i.e., the consideration of (1)

substantial likelihood of success on the merits; (2) substantial threat that plaintiff will suffer irreparable

injury if the injunction is denied; (3) whether the threatened injury outweighs any damage that the

injunction might cause defendants; and (4) whether the injunction will disserve the public interest).

Deggs, 2020 WL 3100023, at *2 (citing Software Tree, LLC v. Red Hat, Inc., No. 6:09-CV-097, 2010 WL

11531146, at *1 (E.D. Tex. Aug. 25, 2010)); see also Judicial Watch, Inc. v. U.S. Dep’t of Just., No. CV 18-

154 (RBW), 2018 WL 11457399, at *1 (D.D.C. Nov. 13, 2018) (“When reviewing a motion for a




CV-1885 (BH), 2009 WL 4016414, at *7 (N.D. Tex. Nov. 17, 2009); see also Oglesby, 920 F.2d at 62; 5
U.S.C. § 552(a)(6)(C), Plaintiffs concede that they have not yet done so here.

                                                      3
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preservation order, the Court follows ‘the same analytical framework as a motion for injunctive

relief[.]’”) (citation omitted). The second test is the three-prong preservation test of Capricorn Power

Co., Inc. v. Siemens Westinghouse Power Corp (“Capricorn”), i.e., “the consideration of (1) the level of concern

the court has for the continuing existence and maintenance of the integrity of the evidence in question

in the absence of an order directing preservation of the evidence; (2) any irreparable harm likely to

result to the party seeking the preservation of evidence absent an order directing preservation; and (3)

capability of an individual, entity, or party to maintain the evidence sought to be preserved, not only

as to the evidence’s original form, condition or contents, but also the physical, spatial and financial

burdens created by ordering evidence preservation.” See Deggs, 2020 WL 3100023, at *2 (citing

Capricorn, 220 F.R.D. 429, 433 (W.D. Pa. 2004)). Yet a third test, similar to the Capricorn test, was used

by the Court of Federal Claims in Pueblo of Laguna v. United States, 60 Fed. Cl. 133 (2004); the Court of

Federal Claims concluded that the issuance of evidence preservation orders is an inherent power of

the court, and that such an order may issue when the movant “demonstrate[s] that it is necessary and

not unduly burdensome.” See Legacy of Life, Inc., 2006 WL 8435984, at *2 (citing Pueblo of Laguna, 60

Fed. Cl. at 138). Those courts appear to reason that a court’s authority to issue such orders is part of

its inherent authority to oversee litigation, like other discovery orders to identify witnesses or produce

documents and is not the same as equitable relief. Cf. id.; see also Deggs, 2020 WL 3100023, at *2

(“courts must use restraint and discretion when exercising inherent authority.”) (citing Chambers v.

NASCO, Inc., 501 U.S. 32, 44 (1991)).

        The Court should apply the test for preliminary injunctive relief because that is exactly what

Plaintiffs seek here – a temporary restraining order and preliminary substantive relief on their claims

that they are entitled to preservation. See Madden v. Wyeth, No. 3-03-CV-0167-R, 2003 WL 21443404,

at *1 (N.D. Tex. Apr. 16, 2003) (“A motion to preserve evidence is an injunctive remedy and should

issue only upon an adequate showing that equitable relief is warranted.”); Judicial Watch, Inc., 2018 WL

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11457399, at *1; see also Munaf v. Geren, 553 U.S. 674, 689-90 (2008) (stating that a “preliminary

injunction is an extraordinary and drastic remedy”—“the exception,” rather than “the rule”) (citation

omitted). Even if the Capricorn or Pueblo of Laguna tests were appropriate in some contexts, they are

not here. Plaintiffs are not asking the Court to preserve evidence as part of its discovery oversight

powers or to preserve evidence relevant to litigating some underlying claim; the preservation order is

the ultimate relief sought by Plaintiffs. 3

            Regardless of which test is applied here, however, Plaintiffs here have not made the requisite

showing.

 II.          Plaintiffs Cannot Demonstrate Irreparable Harm Because They Have Not Shown
              that Defendants Are Destroying or Will Destroy Documents.

        First, and most importantly, Plaintiffs cannot demonstrate irreparable harm, because

Defendants are not destroying and will not destroy federal records in the possession of the Special

Counsel’s Office, including responsive documents. Plaintiffs offer no evidence of any document

destruction, and none exists. This fatally undermines Plaintiffs’ claim for a preservation order under

any standard and deprives this Court of jurisdiction.

        Under any of the tests described in Part I, Plaintiffs must show that Defendants will destroy

documents without such an order. See Madden, 2003 WL 21443404, at *1 (plaintiff seeking preliminary

injunction preservation order must show irreparable harm); Pueblo of Laguna, 60 Fed. Cl. at 138

(plaintiff seeking preservation order must show that it is “necessary”); Capricorn, 220 F.R.D. at 433




        3
         An order premised on the Court’s discovery power seems uniquely inappropriate in the
FOIA context, where there is ordinarily no discovery. “‘[D]iscovery in FOIA cases is rare’ and courts
should generally order it only ‘where there is evidence—either at the affidavit stage or (in rarer cases)
before—that the agency acted in bad faith . . . .’” Huddleston v. Fed. Bureau of Investigation, No. 4:20-CV-
447, 2024 WL 3834383, at *9 (E.D. Tex. Aug. 15, 2024) (quoting Shapiro v. U.S. Dep’t of Just., 40 F.4th
609, 615 (D.C. Cir. 2022)).

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(considering “the level of concern the court has for the continuing existence and maintenance of the

integrity of the evidence in question” and any “irreparable harm” to the party seeking the order).

        Moreover, because the relief sought in the underlying Complaint and in this motion is an

injunction, Plaintiffs must demonstrate “certainly impending” future injury to show standing to bring

this claim in the first place. See Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013); see also FDA v.

Alliance for Hippocratic Med., 602 U.S. 367, 381 (2024) (“Moreover, the injury must be actual or

imminent, not speculative—meaning that the injury must have already occurred or be likely to occur

soon.”). Here the relief sought is a preservation order; accordingly, Plaintiffs cannot show that the

injury being redressed (alleged future loss of documents) is “certainly impending” under this standard.

        As the Court recognized, “all litigants are already obligated to take appropriate measures to

preserve documents and information.” See ECF No. 5 at 1 (citing Legacy of Life, Inc., 2006 WL 8435984,

at *1). And courts reject requests for preservation orders premised on speculation, like that presented

by Plaintiffs here, that litigants might violate those obligations. See, e.g., Madden, 2003 WL 21443404,

at *1 (“Without some proof that evidence may be lost or destroyed without a preservation order, the

court is not inclined to enter such an order in this case.”); Legacy of Life, Inc., 2006 WL 8435984, at *3

(“the general obligations to preserve evidence and consequences for failure to do so are sufficient to

ensure the compliance of these defendants”); Gabarick v. Laurin Mar. (Am.), Inc., No. CV 08-04007,

2008 WL 11381421, at *3 (E.D. La. Aug. 29, 2008) (“In the absence of information that particular

evidence will be destroyed or altered–in direct contravention to the preexisting legal duty to preserve

evidence–the Court finds that the Plaintiffs’ requested protective orders do not meet the requirements

of Rule 26.”); Hester v. Bayer Corp., 206 F.R.D. 683, 686 (M.D. Ala. 2001) (rejecting preservation and

criticizing plaintiffs’ gamesmanship in seeking the order ex parte); see also Landmark Legal Found. v. EPA,

910 F. Supp. 2d 270, 279 (D.D.C. 2012) (rejecting preservation order in FOIA matter). And the Court




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has already distinguished the inapposite cases cited by Plaintiffs. See ECF No. 5 at 1-2. Thus, the

parties’ general obligation to preserve evidence alone is sufficient to reject the protective order. 4

        In this case, however, there is more. DOJ, including the Special Counsel and his staff, is

bound by, and is committed to abiding by, the Federal Records Act and a specific records schedule

that governs the preservation and disposition of the records of special investigations. Congress has

enacted various statutory provisions, collectively known as the Federal Records Act (“FRA”), that

govern “the creation, management and disposal of federal records.” See Armstrong v. Bush, 924 F.2d

282, 284 (D.C. Cir. 1991). The FRA requires heads of federal agencies to “make and preserve records

containing adequate and proper documentation of the organization, functions, policies, decisions,

procedures, and essential transactions of the agency.” 44 U.S.C. § 3101. The statute also requires

agencies to establish and maintain an active records management program that complies with the FRA

and regulations promulgated by NARA, id. § 3102, and to establish safeguards “against the removal

or loss of records” that the agency head determines should be preserved, id. § 3105. Pursuant to these

authorities, there is a final records schedule that applies to all records of the Special Counsel’s Office;

they are deemed “permanent” records and must be preserved under federal law. See Ex. 2, DOJ

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https://www.archives.gov/files/records-mgmt/rcs/schedules/departments/department-of-

justice/rg-0060/daa-0060-2017-0034 sf115.pdf. Penalties for violations of these requirements can

potentially be substantial. See 18 U.S.C.§§ 641, 2071.



        4
          Plaintiff’s FOIA request is not the first request for records of the Special Counsel’s Office.
There are numerous such requests being processed, as well as other lawsuits, which raise claims under
FOIA. See, e.g., Judicial Watch v. DOJ, 22-cv-2884 (D.D.C.); Judicial Watch v. DOJ, 24-cv-3110 (D.D.C.);
Missouri v. DOJ, 4:24-cv-01301 (E.D. Mo.). The Department’s Office of Information Policy is
responsible for processing FOIA requests directed to all Special Counsels’ Offices and further ensures
that the law and Department policies regarding records are applied.


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        As Government officials and attorneys bound by these obligations, Defendants must be

presumed to be acting in accordance with their duties. See, e.g., United States v. Chem. Found., 272 U.S.

1, 14-15 (1926) (“The presumption of regularity supports the official acts of public officers, and . . .

that they have properly discharged their official duties.”); U.S. Postal Serv. v. Gregory, 534 U.S. 1, 10

(2001) (“[W]e note that a presumption of regularity attaches to the actions of Government

agencies[.]”). This presumption applies “where a government official or entity conducts official acts

in the manner provided by statute, regulation, or policy.” James Madison Project v. Dep’t of Justice, 302 F.

Supp. 3d 12, 32 (D.D.C. 2018); see also Comcast Corp. v. FCC, 526 F.3d 763, 769 n.2 (D.C. Cir. 2008)

(“We must presume an agency acts in good faith[.]”); Paralyzed Veterans of Am. v. Sec’y of Veterans Affs.,

345 F.3d 1334, 1349 (Fed. Cir. 2003) (“[G]overnment officials are presumed to act in good faith and

with regularity.”).

        This Court should reject as unfounded Plaintiffs’ arguments that federal attorneys would be

expected to violate their legal obligations, as well as their professional responsibilities to their client

and the Court. Plaintiffs base these extraordinary allegations in part on an unsupported allegation that

a previous Special Counsel’s Office working on a different investigation may have destroyed

documents. Plaintiffs do not cite any evidence of misconduct or even any formal complaints. Rather,

they reference a years-old congressional letter seeking additional information from DOJ about a

different Special Counsel’s Office. See ECF No. 2 at 4. That is certainly not a sufficient basis for

finding that different DOJ officials years later are likely to engage in the intentional destruction of

documents. See Landmark Legal Found., 910 F. Supp. 2d at 279 (rejecting request for preservation order

despite previous document loss by same agency in a different matter).

        DOJ is committed to preserving its records and following the law, and none of Plaintiffs’

remaining arguments provides any basis for the relief they request (or even relates to document

destruction). Plaintiffs argue, for example, that the requested records are likely to be destroyed

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because DOJ “is willing to go to extreme lengths to resist transparency.” ECF No. 2 at 4. Namely,

Plaintiffs disagree with an unrelated assertion of executive privilege made by President Biden in

response to a subpoena from Congress for audio recordings of law enforcement interviews conducted

by a different Special Counsel’s Office. This has absolutely nothing to do with Special Counsel Smith’s

investigations or records, and has no bearing on the requested relief. A presidential assertion of

privilege made to protect law enforcement files on a different matter says nothing about a risk of

document destruction by the Special Counsel’s office at issue here or the Department of Justice writ

large.

         Plaintiffs also argue that Special Counsel Smith is personally willing to make “aggressive and

implausible legal arguments to justify untenable governmental acts,” citing two things: (1) a conviction

he worked on that was reversed by the Supreme Court in 2016 (after being affirmed by the Fourth

Circuit); and (2) a representation that a prosecutor in the Special Counsel’s Office made to a district

court about the organization of documents in a box that the Office later corrected and explained. See

ECF No. 2 at 5. Neither of those allegations has anything to do with a risk of destruction of

documents, nor do they reflect “implausible” arguments or “untenable” governmental acts.

Correcting a representation that later turned out to be imprecise or erroneous is evidence of good

faith on the part of the Special Counsel’s Office, not the contrary. Nor does the Solicitor General

losing a case in the Supreme Court show a likelihood of destroying documents.

         Lastly, Plaintiffs argue that Mr. Smith has “a strong incentive” to destroy documents because

the media has reported that Elon Musk wants Mr. Smith “punished” for unspecified “abuses” and

Congressman Jordan has not “rule[d] out” a Congressional investigation of Jack Smith. See ECF No.

2 at 5-6. Officials associated with the Special Counsel’s Office are already aware of and fully

committed to complying with their obligations to preserve records, and their compliance with the law

is not affected in any way by such statements. And the Department has made clear that it has no

                                                   9
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concerns about meeting its record preservation obligations in this matter. See Ex. 3, Letter from DOJ

to Congressman Jordan (APP010-12).

       In sum, Plaintiffs have not shown that responsive records will be destroyed absent an order

from this Court. As a result, they cannot establish a “certainly impending” future injury sufficient to

support standing to bring this lawsuit, and they cannot establish irreparable harm or necessity

sufficient to show that a preservation order would be warranted.

III.   Plaintiffs Have Not Justified an Order Under the Preliminary Injunction Factors.

       Because Plaintiffs have not shown that documents will be destroyed, they cannot show

irreparable harm. See supra Part II. Plaintiffs also cannot make the requisite showing under the

remaining preliminary injunction factors. They have no likelihood of success on the merits of their

claim. In addition to lacking standing to bring such a claim for the same reasons they have not shown

any irreparable harm, they have not made a FOIA claim, and have not invoked a valid waiver of

sovereign immunity under the ultra vires doctrine or otherwise stated a claim.

       As an initial matter, Plaintiffs cannot make an ultra vires claim because they have not identified

any action that has been taken in excess of government authority. Since the APA’s amendment in

1976, an ultra vires claim has been described as “essentially a Hail Mary pass—and in court as in

football, the attempt rarely succeeds.” Texas Gen. Land Off. v. Biden, 619 F. Supp. 3d 673, 701 (S.D.

Tex. 2022) (quoting Nyunt v. Chairman, Broad. Bd. of Govs., 589 F.3d 445, 449 (D.C. Cir. 2009)

(Kavanaugh, J.)), rev’d and remanded on other grounds, 71 F.4th 264 (5th Cir. 2023). 5 Under some



       5
           An “ultra vires claim” was used historically to get around federal sovereign immunity. See
Geyen v. Marsh, 775 F.2d 1303, 1307 (5th Cir. 1985). That is, it relied on the “fiction that a federal
official acting in violation of the Constitution or beyond his statutory powers was acting for himself
only and not as an agent of the government.” Id. (collecting cases). But the legal landscape changed
in 1976, when Congress amended the APA and thus “d[id] away with the ultra vires doctrine and other
fictions surrounding sovereign immunity.” Apter v. Dep’t of Health & Hum. Servs., 80 F.4th 579, 593
(5th Cir. 2023) (quoting Geyen, 775 F.2d at 1307).

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circumstances, an ultra vires claim might be available where a government authority has taken action in

excess of its authority and the plaintiff “would otherwise be wholly deprived of a meaningful

opportunity of vindicating [their] rights.” Tex. Gen. Land Off., 619 F. Supp. 3d at 702 (citing Bd. of Govs.

of Fed. Rsrv. Sys. v. MCorp Fin., Inc., 502 U.S. 32, 43 (1991). But that is not true here. No governmental

authority has taken any action that Plaintiffs allege is outside its authority, and Plaintiffs cite no

authority for bringing an ultra vires action on the theory that a government official might someday be

motivated to exceed his authority in the future. 6

        Finally, the remaining requirements for issuance of a preliminary injunction—the balance of

harms and the public interest, which “merge when the Government is the opposing party,” Nken v.

Holder, 556 U.S. 418, 435 (2009)—also weigh against the issuance of injunctive relief here. Because

records are being preserved and Plaintiffs are not harmed, the balance of harm dictates against an

unnecessary order. And the public interest is served through the already existing obligation on all

federal employees to comply with the law. See, e.g., John B. v. Goetz, 531 F.3d 448, 460 (6th Cir. 2008)

(granting mandamus relief and reversing a district court’s order to preserve hard drives by forensic

imaging as an abuse of discretion on the grounds that, among other reasons, “nothing in the record

indicates that defendants are unwilling, or will refuse, to preserve and produce all relevant ESI in the

future”).




        6
           Nor does the All Writs Act assist Plaintiffs. It is not an independent basis for jurisdiction
and does not expand the Court’s jurisdiction beyond its existing authority. Texas v. Real Parties In
Interest, 259 F.3d 387, 392 (5th Cir. 2001). There is also no imminent loss of the Court’s ability to
exercise its jurisdiction, and no reason to make novel use of the All Writs Act to protect a hypothetical
future FOIA action.

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IV.          Plaintiffs Have Not Justified a Preservation Order Under the Alternative
             Standards.

         Analyzing the motion under the alternative standards set forth in Pueblo Laguno or Capricorn

would not rescue Plaintiffs’ claim. As set forth in Part II, Plaintiffs cannot establish that the Order is

“necessary,” nor should the Court find significant “concern” about the integrity of the documents

requested. DOJ is committed to preserving the records as required by law, and there is no indication

that DOJ does not plan to do so. “[R]ecognizing that all litigants are already obligated to take

appropriate measures to preserve documents and information that are reasonably calculated to lead to

the discovery of admissible evidence and likely to be requested during discovery, some courts have

held that ‘[t]o supplement every complaint with an order requiring compliance with the Rules of Civil

Procedure would be a superfluous and wasteful task, and would likely create no more incentive upon

the parties than already exists.’” Legacy of Life, Inc., 2006 WL 8435984, at *1 (internal citation omitted));

see also Landmark Legal Found., 910 F. Supp. 2d at 279. The same is true here – there is no justification

for entering the requested order.

                                            CONCLUSION
      For these reasons, the Court should deny the emergency motion.

Dated: November 18, 2024                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE
I hereby certify that on November 18, 2024, I electronically filed the foregoing Memorandum and all
supporting materials with the Clerk of the Court for the United States District Court for the
Northern District of Texas by using the CM/ECF system. Counsel in the case are registered
CM/ECF users and service will be accomplished by the CM/ECF system.
                                              /s/Amy E. Powell
                                              AMY E. POWELL
                                              United States Department of Justice




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